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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

INDICTMENT

“E16 CR 0224

JUDGE

UNITED STATES OF AMERICA,

Plaintiff,

¥v.
18 U.S.C. § 1343 and 1349,
18 U.S.C. § 1030(a)(4),

18 U.S.C. § 1030(a)(5),

18 U.S.C. § 371,

18 U.S.C. § 2320(a)(1),

18 U.S.C. § 1028A,

18 U.S.C. § 1956(b),

18 U.S.C. § 355%g)(1),

18 U.S.C. § 2

The crn Jury charges: JUDGE GAUt

General Allegations

BOGDAN NICOLESCU,
TIBERIU DANET, and
RADU MICLAUS,

Defendants.

Smee Nene? mmr” Set” Nee Ne me met ee Se ne ee ee ee” Ne”

1. Defendants BOGDAN NICOLESCU (NICOLESCU), TIBERIU DANET
(DANET), and RADU MICLAUS (MICLAUS), and others presently known and unknown to the
Grand Jury (herein after referred to as the BAYROB GROUP), are members of a criminal
conspiracy located in and around Bucharest, Romania.

2. Some of the victims of the criminal schemes carried out by the BAYROB
GROUP resided in the Northern District of Ohio. Specifically, some of the computers infected
with malware by the BAYROB GROUP were in the Northern District of Ohio, some of the
computers accessed by the BAYROB GROUP without authorization were in the Northern

District of Ohio, and some of the victims who had their identities, money, or personal identifying

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information (PIT) stolen by the BAYROB GROUP as a result of these schemes resided in the
Northern District of Ohio.
Definitions

For purposes of this Indictment, it is alleged that:

3. “Malware” is malicious or intrusive software that is installed on a computer
without the knowledge or permission of the owner.

4. A “trojan” is a type of malware which masquerades as a routine download request
or as an opportunity to download files of interest to the user in order to persuade the victim to
install it. Many trojans, including the Bayrob Trojan discussed below, act as an unauthorized
access point to the victim computer that allows an unauthorized computer to access and
communicate with the infected computer.

5. A “botnet” is an interconnected network of computers infected with malware
without the knowledge of the computers’ users that is controlled by a remote party, often referred
to as a “botherder,” who does not have authorization to control:the computers on the network,

6, A “bot” is one of the infected computers that is part of a botnet and controlled by
a remote party who does not have authorization to control the computer. For purposes of this
Indictment, all “bots” are infected computers, and all infected computers are bots.

7. A “command and control server” is a centralized computer that issues commands
to the bots in a botnet and receives reports back from the bots.

8. A “virtual private network” (VPN) is a technology that creates a secure network
connection over a public network such as the Internet or private network owned by an Internet
Service Provider. By using a VPN, a user can conceal his true IP address from those with whom

he is communicating.
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9. An “Internet Service Provider” (ISP) is an organization that provides services for
accessing, using, or participating in the Internet. Services commonly provided by ISPs include
Internet access, Internet transit, domain name registration, email services, and web hosting.

10. “Internet Protocol Address” ((P Address) is defined as a numerical label assigned
to a device logged onto the Internet that provides information that is useful for identifying and
locating the device.

il. A “domain name” is used to identify the IP address of a website on the Internet.
For example, the domain name “www.google.com” locates an IP address for Google.

12. “Cryptocurrency” is any digital currency in which encryption techniques, known
as cryptography, are used to regulate the generation of units of currency and verify the electronic
transfer of funds. Examples are Bitcoin and Burst coin.

13. “Cryptomining” is the technique of using a computer's processing power to solve
the mathematics behind the generation of cryptocurrency or the validation of cryptocurrency
transactions. The solver of the mathematical problem is generally compensated with a small:
amount of new eryptocurrency, in the case of the initial generation of the currency, or a small
percentage of a cryptocurrency transaction between two parties involved in a cryptocurrency

transaction.

The BAYROB GROUP

14. In or before 2007, the BAYROB GROUP began to develop and deploy
proprietary malware, referred to herein as the “Bayrob Trojan.”

15, The BAYROB GROUP disseminated the Bayrob Trojan through malicious
emails purporting to be from legitimate entities such as Western Union, Norton AntiVirus, and

the United States Internal Revenue Service (IRS). The emails prompted the recipient to click on
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an attached file for information about a cash receipt or deficiency. When victims clicked on the
attached file, the Bayrob Trojan was surreptitiously installed onto their computer.

16.  Atall times relevant to this Indictment, the computers infected as part of any and
all of the schemes associated with the Bayrob Botnet were used in and affecting interstate and
foreign commerce and communication.

17. The Bayrob Trojan allowed the BAYROB GROUP to control and manipulate
each bot. Among other things, the BAYROB GROUP used the Bayrob Trojan to harvest email
addresses from the bot, such as from the bot’s Outlook contact lists or the victim’s Yahoo! email
account.

18. The Bayrob Trojan forced the infected computer to register email accounts
(named based on a Bayrob algorithm) with America Online (AOL). These AOL accounts were
then used by the BAYROB GROUP to send additional malicious emails to all of the contacts
harvested from the infected computers. This allowed the BAYROB GROUP to continually
infect more computers.

19, Since at least 2007, the BAYROB GROUP has successfully infected and
controlled more than 60,000 individual computers with versions of the Bayrob Trojan. These —
infected computers were located primarily in the United States. Collectively, this network of
more than 60,000 computers ts referred to as the Bayrob Botnet.

The Structure of the Bayrob Botnet

20. The Bayrob Botnet is centrally controlled by the BAYROB GROUP through one
or more command and control servers (C&C servers), which enable the BAYROB GROUP to
send code and issue commands to any or all bots in the Bayrob Botnet.

21. To ensure the stability and reliability of the Bayrob Botnet against disruption by

law enforcement or other interruptions, the BAYROB GROUP paid to have their C&C servers

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hosted by reliable Internet Service Providers in the United States, maintained redundant C&C

servers with different ISPs, and regularly backed up the data and information on those servers.

22. In addition, to ensure reliability and anonymity, the BAYROB GROUP used at
least two levels of C&C servers. The BAYROB GROUP communicated with the top-level C&C
~ servers. The messages, updates, or commands provided by the BAYROB GROUP were then
sent from the top-level C&C servers to the second-level C&C servers (or relays). The second-
level servers, serving as a relay between the top-level C&C servers and other tiers of bots, then
pushed those communications to the bots. In this way, an infected computer could, at best, be
used to investigate the IP address of a second-level C&C server, but could not identify the top-
level C&C servers or the BAYROB GROLP, itself.

23. In order fo receive commands from the BAYROB GROUP, the bots automatically
checked in with Internet domains registered by the BAYROB GROUP via infected computers,
using stolen identity and credit card information. These domains were automatically generated
by the Bayrob Trojan’s Domain Generation Algorithm (DGA) and had nonsensical names such
as storeladder.net, lookuncle.net, or necessaryfather.net. Upon successfully contacting a domain
registered and controlled by the BAYROB GROUP, the bot was able to connect to a second-
level C&C server, and receive commands from the BAYROB GROUP.

24. Furthermore, to conceal their identities, members of the BAYROB GROUP never
communicated directly with the C&C servers. Instead, members connected using multiple
proxies to obscure their identities. For example, BAYROB GROUP members logged into one or
more encrypted VPNs and/or infected computers before logging into the C&C server.

25. Additionally, communication between BAYROB GROUP members and the

BAYROB GROUP infrastructure used Secure Shell (SSH), which is an encrypted network
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protocol to allow remote login and other network services to operate securely over an unsecured
network.

26. Furthermore, when communicating with each other, members of the BAYROB
GROUP used secure end-to-end encryption, encrypted any attachments, and used other secure
methods of communication, including an instant messaging technology known as Jabber, which
the BAYROB GROUP administered through a private and secure server.

27, At all times relevant to this Indictment, the Defendants did not seek, nor were
they given, permission to install the Bayrob Trojan on victims’ computers or to use the victims’
computers as part of the Bayrob Botnet.

28. In addition to enabling further infection, the Bayrob Trojan allowed the BAYROB
GROUP to: (a) harvest personal information from the infected computer (e.g., credit card
information, usernames, passwords, and email accounts); (b) communicate through the infected
computer to conceal the identity of the BAYROB GROUP’s members; (c) order the infected
computer to send out malicious emails or instant messages to a list of target accounts; (d) use the
processing power of the computer to solve complex algorithms for the financial benefit of the
BAYROB GROUP, (Le., cryptocurrency mining); (e) disable the victim’s malware protection
and block the victim’s access to websites associated with law enforcement; and (f) inject fake
pages into legitimate websites, such as eBay, to make victims believe they were receiving and
following instructions from the legitimate websites, when they were actually following the
instructions of the BAYROB GROUP.

29, The BAYROB GROUP also designed the Bayrob Trojan to link the infected
computers into a network, referred to as a “botnet” (the “Bayrob Botnet”), to enable the entire
network of infected computers to be centrally controlled by the BAYROB GROUP through one

or more C&C servers located in the United States.
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30. Among other things, this structure allowed members of the BAYROB GROUP to
efficiently send commands or updates to any and all bots in the botnet without directly revealing
the ultimate source of the directive.

The Bayrob Botnet Furthered Three Criminal Schemes

31. The BAYROB GROUP relied on the Bayrob Botnet to further three basic
criminal schemes designed to defraud victims.

Identity Theft Scheme

32. The first scheme engaged in by the BAYROB GROUP involved the theft of credit
card and other personal account access information from infected computers. When a victim
with an infected computer visited websites such as Facebook, PayPal, Gmail, Yahoo!, Walmart,
or eBay, the Bayrob Trojan would intercept the request to visit that website and redirect the
system to a virtually identical website created by the BAYROB GROUP, which would steal
account credentials or prompt the users to validate their accounts by entering their identities and -
credit card information. The BAYROB GROUP used these stolen credit cards and identities to
fund their online criminal infrastructure, including renting server space, paying for VPNs which
further concealed their identities, and registering domain names using fictitious and fraudulent
identities,

33. At all times relevant to this Indictment, eBay, Facebook, PayPal, Gmail, Google,
Walmart, Western Union, Norton Security, and Yahoo! all had trademarks and service marks
registered on the principal register of the United States Patent and Trademark Office (USPTO).
These marks were in use by the trademark holders, or their licensee, at all relevant times to this
Indictment, and were used in connection with the type of goods or services for which the marks

were registered.
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34, At all times relevant to this Indictment, NICOLESCU, DANET, and MICLAUS
did not have authorization to use any trademark or service mark registered on the principal
register of the USPTO by eBay, Facebook, PayPal, Gmail, Google, Walmart, Western Union,

Norton Security, or Yahoo!.

Auction Fraud Scheme

35. The BAYROB GROUP’s second scheme involved online auction fraud. The
BAYROB GROUP placed hundreds or thousands of listings for automobiles, motorcycles, and
other high priced goods on eBay and similar auction sites. Photographs of the items were
infected with the Bayrob Trojan. Once infected, victim computers were redirected to fictitious
webpages using counterfeit service marks designed by the BAYROB GROUP to resemble
legitimate eBay pages. The fictitious webpages prompted users to pay for the goods through a
non-existent “eBay Escrow Agent,” who was supposed to hold the money until the buyer
received the item and confirmed his or her satisfaction, but who, in reality, was a person hired by
the BAYROB GROUP.

36. To further give the veneer of legitimacy to the fraudulent webpage, the BAYROB
GROUP created software that allowed users to use “eBay Live Chat” in real time with members
of the BAYROB GROUP holding themselves out to be customer service agents of eBay.

37. Believing the remitted funds would be sent to an eBay escrow agent, the user paid
for the goods, sending wire transfers to individuals employed by the BAYROB GROUP in the
United States, commonly referred to as “money mules.” The money mules, in turn, sent funds
via wire transfers or Western Union to money mules based in Eastern Burope, who withdrew the
money and gave it to members of the BAYROB GROUP. Ultimately, the payors/victims never

received the items for which they paid, and never got their money back.
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38. The domestic money mules were often unsuspecting participants in the criminal
scheme because the BAYROB GROUP recruited them through seemingly legitimate companies
advertising on Monster.com, Craigslist.com, Indeed.com, and Beyond.com. These fake
companies created by the BAYROB GROUP, each having its own legitimate-appearing website,
purported to hire individuals as “international transfer agents” who would allegedly allow the
company to legally avoid paying Value Added Tax (VAT) on international wire transfers.

39. From 2007 to the present, the fraudulent schemes of the BAYROB GROUP have
resulted in at least 3 to 4 million dollars in fraudulent eBay schemes reported to the FBI.

Cryptomining Scheme

40), The third scheme employed by the BAYROB GROUP involved forcing
computers infected with the Bayrob Trojan to use their computing power to “mine” for
cryptocurrency, a service for which the BAYROB GROUP was paid. Once a bot was instructed
to mine for cryptocurrency, much of its processing speed and power would be unavailable to its
legitimate owner.

41. The legitimate owner of an infected computer was typically completely unaware !
of the malware installed on their computer, nor was the owner able to access the botnet or use the

functionality of the botnet for any personal benefit.
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COUNT 1
(Conspiracy to Commit Wire Fraud, 18 U.SC. §§1343 and 1349)
42. Paragraphs 1 through 41 of the Indictment are re-alleged and incorporated by
reference as if fully set forth herein.
The Conspiracy
43, From on or about January 1, 2007, through the date of the Indictment, in the

Northern District of Ohio, Eastern Division, and elsewhere, Defendants BOGDAN

NICOLESCU, TIBERIU DANET, and RADU MICLAUS, and others presently known and
unknown to the Grand Jury, did knowingly combine, conspire, confederate, and agree to devise
and intend to devise a scheme and artifice to defraud and to obtain money and property, by
means of materially false and fraudulent pretenses, representations and promises, and for the
purpose of executing such scheme and artifice, and attempting to do so, to transmit and cause to
be transmitted by means of wire communications in interstate and foreign commerce, certain
writings, signals, signs, pictures, and sounds, that is, to knowingly cause computer commands to
be transmitted from outside of the State of Ohio to computers in the Northern District of Ohio, in
violation of Title 18, United States Code, Sections 1343 and 1349.

Objects of the Conspiracy

44, The BAYROB GROUP executed its scheme for four principal objects. The four
objects, described below, are generally referred to as the “Infection Scheme,” the “Identity Theft
Scheme,” the “Online Fraud Scheme,” and the “Cryptocurrency Mining Scheme.”

45. It was an object of the conspiracy that the BAYROB GROUP used wire
communications to deploy malware in order to control computers and obtain online account
information from infected computers without permission of the owners, in order to infect and
control additional computers.

46. It was a further object of the conspiracy for the BAYROB GROUP to use wire

communications to command infected computers to send malicious emails and inject fraudulent

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webpages to deceive users into providing credit card information, usernames, passwords, account
information, and other personal information. The BAYROB GROUP used this information to,
among other things, support the infrastructure of the Bayrob Botnet and Bayrob Troj an.

47, Tt was a further object of the conspiracy for the BAYROB GROUP to deploy code
over wire communications that altered the appearance of webpages and online transactions on
infected computers. The users of the infected computers viewed what they believed to be
legitimate online offerings of goods, but as a result of the malware, they were deceived into
sending thousands of dollars via wire to pay for expensive goods that were never provided.

48. It was a further object of the BAYROB GROUP to infect computers with
malware that damaged the infected computer by, among other things, stealing any
cryptocurrency on the infected computer, and forcing each infected computer to use its
processing power to assist the BAYROB GROUP in the widespread mining of cryptocurrencies
for the sole financial benefit of the BAYROB GROUP. The BAYOB GROUP knew that using
the infected computers to mine cryptocurrency would damage the infected computers and
intentionally caused such damage.

49, To achieve these objects, members of the BAYROB GROUP employed an
extensive and sophisticated manner of communication, software installation, and money
remittance that was designed to obscure their identities and make it difficult to trace their routes
of communication from computer to computer over the Internet.

Manner and Means of the Conspiracy

50. It was part of the conspiracy that, in furtherance of the scheme and artifice
described in Paragraphs 1 through 41 herein, the Defendants developed and updated the Bayrob
Trojan malware that, when installed on an infected computer, was designed to both receive

commands and send information from the infected computer back to the BAYROB GROUP.

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51. The members of the BAYROB GROUP sent, and directed other computers to
‘send, malicious emails or instant messages through the Internet in order to trick victims into
running a malicious executable file on their computers in order to gain unauthorized access to the
victims’ computers and all the information siored thereon, or to trick the victims into providing
them with account information.

52. The malicious emails purported to be from legitimate companies or U.S. federal
agencies, and contained seemingly authentic logos and other indicia of reliability. The malicious
emails encouraged recipients to open attachments to obtain important information. In addition, f
the malicious emails concealed the material fact that the attachments were intentionally |
- embedded with malicious code.

53. Once each computer was infected with the Bayrob Trojan, the BAYROB GROUP
harvested email addresses from the infected machine, or associated online email services. To
harvest the email addresses, the BAYROB GROUP activated plugins, such as
“Yahoomailcrawler.js,” which used stolen email credentials to copy a victim’s Yahoo! email
contacts. A similar plugin for Microsoft Outlook, “libpff,” collected Outlook email contacts
from infected computers.

54. Through the Bayrob Trojan, the BAYROB GROUP also activated files that
forced infected computers to register email accounts with America Online (AOL). Using this
method, the BAYROB GROUP was able to command infected computers to register over
100,000 email accounts that were controlled by the BAYROB GROUP.

55. The BAYROB GROUP, through the C&C server, commanded the infected
computers to send malicious email to their contact lists. Through this method, the BAYROB

GROUP used the Bayrob Botnet to send more than 11 million malicious emails.

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56. These malicious emails provided a method through which infected computers
under the control of the BAYROB GROUP were continually being created.
57. Once a computer was infected, exfiltration of credit card or account information

was primarily accomplished through “injection.” The C&C server was configured to

“set_injects” or website injections for certain sites. A member of the BAYROB GROUP had to
manually enter a database on the C&C server, and turn on “injections.” Once injections were
turned on, when an infected system visited Facebook, for example, the Bayrob Trojan
intercepted the request and redirected the system to a non-Facebook server provided by the
BAYROB GROUP, which would prompt victims to validate their account by entering their
identity and credit card information.

58. The credit card information was collected by the BAYROB GROUP and used to
fund their online criminal infrastructure, allowing the BAYROB GROUP to fund the renting of
server space, the use of VPNs which further concealed their identities, and the registering of
domain names using fictitious and fraudulent identities.

59. The BAYROB GROUP also used injection to collect account access credentials
- (¢.g., usernames and passwords) for a number of online services including Facebook, PayPal,
eBay, Yahoo!, Hotmail, and Gmail. These accounts were then primarily used to harvest
additional target email addresses for malicious email campaigns, or to send malicious instant
messages to victims’ instant messaging contacts.

60. The BAYROB GROUP also relied on the Bayrob Trojan to facilitate online
auction fraud. The BAYROB GROUP placed over 1,000 listings for non-existent automobiles
and other expensive items on websites such as eBay. When consumers clicked on photo viewer
attachments associated with the listings, their computers became infected with a version of the

Bayrob Trojan.

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61. Once infected, the victims’ computers were redirected to fraudulent eBay
webpages which appeared legitimate, but contained false information.
62. The fraudulent eBay pages were designed to mimic authentic eBay pages and

contained a number of features intended to lull the user into a false sense of security. These

fraudulent features included links to fictitious positive seller reviews, live chats with an eBay
agent, and an “eBay Escrow Agent Protection” function, ostensibly to securely pay for the
auction items.

63. In reality, the “eBay Escrow Agent” function was an entirely fictitious service
created by the BAYROB GROUP to funnel payments from unwitting victims through money
mules working for sham transfer agencies created by the Defendants.

64. The BAYROB GROUP also used the Bayrob Trojan to install cryptomining tools
on infected computers which used the computing power of the infected computers to mine
cryptocurrencies. As with injection, a member of the BAYROB GROUP had to manually
activate the cryptocurrency mining option. Once mining was activated, the bots would be
directed to download and run new software in order to begin mining. |

65. Additionally, the malicious software searched the infected computer for existing
cryptocurrency “wallets,” and transferred those wallets to members of the BAYROB GROUP
without the owner’s permission.

66. In order to achieve the objects of this conspiracy, members of the BAYROB
GROUP relied on several manners and means to evade detection by both victims and law
enforcement.

67. These efforts included: (a) using stolen credit cards and false credentials to pay . |
for servers, domains, VPNs, and other infrastructure; (b) using multiple proxies to communicate,

including the C&C server, infected computers, commercial VPNs, and commercial proxies (e.g.,

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AOL); (c) encrypting emails and attachments, and communicating over an encrypted private
messaging server located in a Romanian apartment protected with a high security lock; (d) using
cryptic subject headers for emails; (e) using different monikers when communicating over
different channels; (f) regularly moving infrastructure and changing communication channels to
avoid detection; (g) maintaining strict silence about criminal activity and infrastructure when
communicating over the telephone; (h) using U.S.-based and foreign money mules; and (i)
installing malware on victims’ computers to disable access to law enforcement websites.

Execution of the Scheme

Defendants committed and attempted to commit various acts in furtherance of the
conspiracy in the Northern District of Ohio, and elsewhere, including:

68. From January 1, 2007, through the date of this Indictment, from outside the :
United States, the BAYROB GROUP used networked facilities located in the United States to
send encrypted emails amongst each other. The encrypted emails related to such topics as the
infection of victim computers, personal identification information from victims, and maintenance
of the Bayrob Botnet and the Bayrob C&C,

Infection Scheme

69. On or about March 7, 2014, the C&C server began deploying a file entitled
“casper.js” to infected computers. The “casper.js” file contained computer code used by the
BAYROB GROUP to further the infection scheme by instructing infected systems to do various
tasks such as automatically register domains using Yahoo!, stealing email data from stolen
Yahoo! and Gmail accounts, making the systems click on advertisements, and harvesting email
accounts from websites on the Internet to further the conspiracy.

70. Between September 11, 2014 and September 24, 2014, from outside the United

States, members of the BAYROB GROUP, including DANET and NICOLESCU, logged into a

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C&C Server located in the United States and deployed a malicious file entitled “‘wu00[x].htm,”
which was an email template used by the BAYROB GROUP to cause bots in the Bayrob Botnet
to send malicious email purporting to be from Western Union. The emails indicated the recipient
had received money and included an attachment, which was to be printed out and taken to
Western Union in order to receive the funds. In reality, the attachment installed malware on the
recipient’s computer.

71. On or about January 13, 2015, from outside the United States, members of the
BAYROB GROUP, including DANET and NICOLESCU, logged into a C&C Server in the
United States and deployed a malicious file entitled “norton01-htm,” which was an email
template used by the BAYROB GROUP to cause bots in the Bayrob Botnet to send malicious
email purporting to be from Norton AntiVirus. The email indicated the recipient was entitled to
a year of free computer virus protection and provided a link to obtain it. In reality, the link
installed malware on the recipient’s computer.

72. On or about January 13, 2015, from outside the United States, members of the
BAYROB GROUP, including DANET and NICOLESCU, logged into a C&C Server in the
United States and deployed a malicious file entitled “irsO[x].htm,” which was an email template
used by the BAYROB GROUP to cause bots in the Bayrob Botnet to send malicious email
purporting to be from the IRS. The email indicated the recipient was being served with a
“Notice of Deficiency” and included an attachment explaining the deficiency. In reality, the link
installed malware on the recipient’s computer.

73. On or about January 14, 2015, from outside the United States, members of the
BAYROB GROUP, including DANET and NICOLESCU, logged into a C&C Server in the
United States and deployed a malicious file entitled “flappy0[x].htm,” which was an email

template used by the BAYROB GROUP to cause bots in the Bayrob Botnet to send malicious

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email purporting to be from a video game producer. The email template encouraged the
recipient to install an attachment which was purportedly a game entitled “Flappy Bird.” In
reality, the attachment installed malware on the recipient’s computer.

Identity Theft Scheme

74. Between May 2013 and April 2014, the BAYROB GROUP created workspaces
on the C&C servers to allow members of the BAYROB GROUP to perform tasks on the C&C
server. One set of files using such workspace on the C&C server was titled “hosting.txt,” and
contained files with personal identifying information for over 40 individuals, including records
of stolen credit cards that were used to register the domains. The following “hosting.txt” files
were identified:

_./phantom} s/workspace/ amy/yahoo.hosting/hosting txt

../phantom)s/workspace/mf/yahoo.hosting/hosting.txt

../phantomjs/workspace/min/yahoo.hosting/hosting.txt
The above directory structure indicated that DANET (amy), NICOLESCU (mf), and MICLAUS
(min) all had their own workspace, and all were directly involved in registering domains using
stolen credit card information in support of the BAYROB GROUP’s operations.

75, On or about July 23, 2013, from outside the United States, a member of the
BAYROB GROUP logged into a C&C server located in the United States and created a back-up
of 59 individual database tables entitled “abcdef.sql.” These tables included “my 4 mules,”
“ce,” “sox3 ping,” and “auto listings” on the C&C server. These tables contained information
about stolen credit cards, malicious software code to be deployed, and templates used in past and
to be used in future auto auction fraud schemes.

76, On or about March 7, 2014, the C&C server began deploying a file entitled

“casper.js” to infected computers. The “casper.js” file contained computer code used by the

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BAYROB GROUP to further the identity theft scheme by instructing infected systems to do

various tasks such as automatically register domains using Yahoo!, stealing email data from

stolen Yahoo! and Gmail accounts, making the systems click on advertisements, and harvesting
email accounts from websites on the Internet to further the conspiracy.

77. . Onor about and between May 2014 and June 2014, from outside the United
States, the BAYROB GROUP, communicating through a C&C server located in the United
States, sent “yahoomailcrawler.js,” a malicious plugin that targeted Yahoo! mail accounts, to
infected systems over 10,000 times and received communications containing collected data over
10,000 times.

78. On or about and between March 14, 2014 and August 19, 2014, from outside the
United States, members of the BAYROB GROUP commanded a C&C server located in the !
United States to send “cc_page.htm’—a phishing page purporting to seek credit card and PII
- data to verify a user’s eBay account—over 200 times to infected victim systems.

79. On or about and between October 21, 2014 and October 23, 2014, from outside
the United States, members of the BAYROB GROUP, including DANET and NICOLESCU,
logged into a C&C server located in the United States and deployed a malicious file entitled
“walmartO[x].htm,” which caused bots in the Bayrob Botnet to inject fictitious webpages
advertising electronics for sale at Walmart.com. Victims were prompted by the injected
webpage to enter their personal identifying information and credit card information, which

information was then provided to the BAYROB GROUP.

80. On or about January 20, 2015, from outside the United States, members of the
BAYROB GROUP, including DANET and NICOLESCU, logged into a C&C sérver in the
United States and deployed a malicious file entitled “walmart0[x].htm,’” which was used by the

BAYROB GROUP to cause bots in the Bayrob Botnet to inject fictitious webpages advertising

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- electronics for sale at Walmart.com. Victims were prompted by the injected webpage to enter
their personal identifying information and credit card information. This information was then
provided to the BAYROB GROUP.

Cryptomining Scheme

81. On or before January, 2014, the BAYROB GROUP began to use infected systems
in the Bayrob Botnet to mine for cryptocurrency. The BAYROB GROUP instructed infected
systems to download and run cryptocurrency miners, using the processing power of the infected
systems to earn cryptocurrencies for the financial gain of the BAYROB GROUP. The BAYROB
GROUP used the Bayrob Botnet to mine a number of different cryptocurrencies, including
Bitcoin, Monero, Darkcoin, Yacoin, as well as other currencies. The mining of cryptocurrencies
resulted in the target computers being unusable or extremely slow.

Auction Fraud Scheme

82. On or about the dates listed below, the BAYROB GROUP, for purposes of
executing the Auction Fraud scheme, caused the following individuals, whose identities are
known to the Grand Jury, through the use of the following email addresses controlled by the
BAYROB GROUP, to send money to money mules for vehicles that did not exist and were not

actually for sale:

Vieim

Approximate 7 Appa:

Amou

1965 Ford
Mustang
8/1/2013 M.B. | CFl@aol.com unknown | D.W.  { $10,700
vehicle
8/1/2013 T.V. PY@aol.com 1971 HLP. $7,000
Dodge
Charger

“TAL/2013

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Effect of the Scheme

83. As aresult of the scheme, the BAYROB GROUP sent millions of malicious
emails and infected more than 60,000 computers. In addition, the BAYROB GROUP obtained
credit card information from over 500 victims, as well as personal identifying information from
tens of thousands of victims. Furthermore, the BAYROB GROUP engaged in malware-enabled
online auction fraud more than 1,000 times and derived at least 3 to 4 million dollars from the
scheme. As a result of cryptocurrency mining, more than 33,000 infected computers were

damaged due to loss of processing power.

All in violation of Title 18, United States Code, Sections 1343 and 1349,

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COUNTS 2-13
(Wire Fraud, 18 U.S.C. §1343)

The Grand Jury further charges that:

84. Paragraphs | through 41 of the Indictment are re-alleged and incorporated by
reference as if fully set forth herein.

85. From on or about January 1, 2007, through the date of the Indictment, in the
Northern District of Ohio, Eastern Division, and elsewhere, Defendants BOGDAN
NICOLESCU, TIBERIU DANET, and RADU MICLAUS, and others presently known and
unknown to the Grand Jury, devised and intended to devise a scheme and artifice to defraud and
to obtain money by means of materially false and fraudulent pretenses, representations and
promises, and transmitted and caused to be transmitted by means of wire and radio
communications in interstate commerce, writings, signals, signs, and pictures, for the purposes of

executing such scheme and artifice in violation of Title 18, United States Code, Section 1343.

Manner and Means of the Scheme

86. To accomplish these objectives the BAYROB GROUP employed the manner and
means described in Paragraphs 1 through 41, 50 through 65, and 67 of the Indictment which are
re-alleged and incorporated by reference as if fully set forth herein.

Execution of the Scheme

87. Onor about the following dates, victims transferred funds to U.S.-based money
mules working for the BAYROB GROUP via wire transfer under the incorrect belief that they
were purchasing an actual item listed on the authentic eBay site. In reality, each transaction

involved a non-existent item listed on a fraudulent eBay page, created by the BAYROB GROUP,
which was injected onto the victim computer by the Bayrob Trojan; each of which was an

interstate or foreign wire communication constituting a separate and distinct offense:

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2 7/5/2013 Victim #2 D.P. D.W. $7,858.50
Webster, NY Charter One Bank
Victim Bank Unknown Account #: XX XXXX0118
Cleveland, Ohio
3 7/6/2013 Victim #5 R.M. D.W. $9,269.00
Seal Beach, CA Charter One Bank
Account #: XXXXXXO118
. Cleveland, Ohio
4 7/8/2013 Victim #1 J.C. D.W. $7,254
Bythe, CA Charter One Bank
Victim Bank Unknown Account #; XXXXXX0118
Cleveland, Ohio
5 7/9/2013 Victim #3 A.K. D.W. $ 8,852.30
Jefferson, ME US Bank
TD Bank Account
#IXXXKXXXX1134
Cleveland, Ohio
6 7/14/2013 Victim #6 M.H. D.W. $7,808.13
Saint Charles, MO US Bank
Account
PIXXXXX XXX 1134
Cleveland, Ohio
7 7/14/2013 Victim #7 CLR. D.W. $7,707.38
Webster, MA US Bank
Account
#XXXXXAOKCK 1134
Cleveland, Ohio .
8 7/14/2013 Victim #8 S.W. D.W. $2,484.00
Abilene, TX Charter One Bank
Account #: XX XXX X0118
Cleveland, Ohio
9 7/14/2013 Victim #9 M.M. D.W. $5893.88
Reno, NV PNC
Account #:XXXXXX5205
Cleveland, Ohio
10 7/14/2013 Victim #10 T.H. D.W. $9,350
Bedford, NY Charter One Bank
Account #: XX XXXX0118
Cleveland, Ohio
li 7/14/2013 =| Victim #11 JR. D.W. $6,000.00
~ | Renton, WA Key Bank
Cleveland, Ohio

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ae - Amount of

es Oe eS ol Transactior
7/14/2013 | Victim #12 W.P. D.W. $12,500.00
New Orleans, LA Key Bank
Cleveland, Chio
13 8/11/2013 | Victim #4 M.B. D.W. $10,729.88
Tyler, TX PNC
Victim Bank Unknown Account #:XXXXXX5205
Cleveland, Ohio

All in violation of Title 18, United States Code, Section 1343.

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COUNT 14
(Conspiracy)
(18 U.S.C. §371)
The Grand Jury further charges that:

88. Paragraphs | through 41, 50 through 65, and 67 of the Indictment are re-alleged
and incorporated by reference as if fully set forth herein.

89. From on or about January 1, 2007, through the date of the Indictment, in the
Northern District of Ohio, Eastern Division, and elsewhere, Defendants BOGDAN
NICOLESCU, TIBERIU DANET, and RADU MICLAUS, and others presently known and
unknown to the Grand Jury, knowingly and intentionally conspired and agreed together and with
each other, and with other persons both known and unknown to the Grand Jury, to violate the
laws of the United States, namely:

(i) to intentionally access a computer without authorization, and thereby obtain
information from a protected computer, and the offense was committed for purposes of
commercial advantage and private financial gain, in violation of Title 18, United States Code,
Section 1030(aj)2)(C); and

(ii) to intentionally access a computer without authorization and by means of such
conduct furthered the intended fraud and obtained something of value, specifically, money, in
excess of 3 to 4 million dollars, in violation of Title 18, United States Code, Section 1030(a)(4);
and

(iii) to knowingly cause the transmission of a program, information, code, and command,
and, as a result of such conduct, intentionally cause damage without authorization to a protected
computer, and the offense caused damage affecting ten or more protected computers in a one

year period, in violation of Title 18, United States Code, Sections 1030(a)(5)(A) and (c)(4)(B).

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Objects of the Conspiracy

90. — It was the object of the conspiracy for Defendants to access computers-and steal
personal identifying information, credit card information, and cryptocurrencies to use for their
commercial advantage and private financial gain.

91. It was a further object of the conspiracy to use the Bayrob Trojan to deceive users

of infected computers.to send money and other things of value to members of the BAYROB
GROUP.

92. It was an additional object of the conspiracy to infect computers with malware
that allowed members of the BAYROB GROUP to use infected computers to mine
cryptocurrencies for their own personal gain, but to the detriment of the infected computer’ s
processing power.

Manner and Means of the Conspiracy

93. Paragraphs 50 through 65 and 67 of the Indictment are re-alleged and
incorporated by reference as if fully set forth herein.

94. —_ In order to gain access to victim computers without authorization, the BAYROB
GROUP employed several techniques.

95, From on or about January 1, 2007, through the date of the Indictment, the
BAYROB GROUP collected account access credentials in the form of usernames and passwords
for a number of online services to include Facebook, PayPal, eBay, Yahoo!, Hotmail, and Gmail.

96. When an infected computer attempted to visit Facebook, Paypal, eBay, Yahoo!,
Hotmail, or Gmail, the Bayrob Trojan would redirect the user to a web page provided by the
BAYROB GROUP, which contained counterfeit trademarks and service marks that deceived the

user into believing they were on the authentic website. Thus deceived, the victims would

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provide their account information and additional verification information, all of which was
collected by the BAYROB GROUP.

97. The BAYROB GROUP deployed these fraudulent webpages purporting to be -
legitimate eBay, Facebook, Gmail, and other sites at least 40,000 times, in an effort to deceive
victims into sending them their personal credit card information, account information, or to

install malware on their computers.

98. Likewise, members of the BAYROB GROUP placed hundreds or thousands of

fraudulent advertisements on eBay for non-existent automobiles for sale by online auction.

99. ‘The automobile listings generated multiple requests and bids from potential
unsuspecting purchasers, however, in the end there were no actual auction winners, either
because the auction’s reserve price was intentionally set too high, or the auction was won by an
account created by the BAYROB GROUP to ensure they would win.

100. The BAYROB GROUP would then email every person who bid or requested
information regarding the item. The email explained that the item was still available and could be
purchased through eBay. The email also contained an attachment with pictures of the car, or a
link to a website to see pictures of the car. When the victim clicked the link or attachmenit to see
the pictures, they were instructed to download a picture viewer which showed pictures of the
vehicle, which simultaneously infected their computer with a particular version of the Bayrob
Trojan, designed to defraud online commerce victims.

101. By infecting these computers with the Bayrob Trojan, the BAYROB GROUP
intended to inject webpages and other content to deceive the victims into wiring them more than

$5,000 each for expensive items that never existed.

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102. Members of the BAYROB GROUP sent spam emails purporting to be from
legitimate companies concerning urgent information about the recipient. By clicking on the link
about the information, the victim would unwittingly install the Bayrob Trojan.

Overt Acts

103. On or about the following dates and in the Northern District of Ohio and

elsewhere, members of the BAYROB GROUP infected the computers of the listed victims,

whose identities are known to the Grand Jury, and were able to gain unauthorized access to their

computers, each constituting a separate act in furtherance of the conspiracy:

oe oa “Infection
.G.E. Kenton, OH $/31/2013
N.M.A Painesville, OH 5/31/2013
AVC Fremont, OO 6/10/2013
M.D.-P. Toledo, OH 6/19/2013
D.A.V Youngstown, OH 6/20/2013
J.B.1. New Bremen, OH 6/23/2013
O.H.I Mentor, OH — 6/29/2013
P.E.S. Chardon, OH 6/29/2013
B.O.W Tallmadge, OH 7/2/2013
B.O.N Youngstown, OH 7/3/2013
K.J.B Massillon, OH 7/3/2013
S.A Lakewood, OH 7/10/2013
E.A.R Avon, OH 7/12/2013
S.N.Y Louisville, OH 7/17/2013
D.E.N Bryan, OH 7/19/2013
P.H.A. . Lima, OH 7/28/2013
B.ULI Toledo, OH 7/30/2013
S.G.A Findlay, OH 7/30/2013
T.S.C. Cleveland, OH 7/30/2013
T.RI Cuyahoga Falls, OH 8/7/2013
D.E.LL. Findlay, OH 8/12/2013
B.LG. Toledo, OH 8/12/2013
L.A.R Wapakoneta, OH 9/27/2013
B.T.H Kent, OH 10/17/2013
E.W.A Westlake, OH 11/7/2013
R.O.N Youngstown, OH - 11/8/2013
T.HLE. Northwood, OH 11/8/2013

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104. Between 2014 and 2015, members of the BAYROB GROUP, through
unauthorized access to computers created by the Bayrob Trojan, installed an additional file
entitled “miner_forced” on at least 33,000 computers, including the infected computers below, to
force the computers to use their computing power to mine for cryptocurrency, thereby damaging
the infected computers by significantly decreasing the processing power available to the user,

and each constituting a separate act in furtherance of the conspiracy

© Bayrob’s |  ——s Location
‘Assigned oe
—VietimID: [0 DE gS
820283904 Akron, OH February 21, 2014
524900352 Grand River, OH March 5, 2014
274822144 Helena, OH November 20, 2014
1218086401 Cleveland, OH December 17, 2014
1219513346 Toledo, OH December 17, 2014
1254965760 New Philadelphia, OH March 1, 2015
1255713792 Beachwood, OH March 5, 2015
1257811968 Mansfield, OH March 5, 2015
1231890944 Toledo, OH March 5, 2015
1227656704 Fremont, OH March 5, 2015
1211592704 Magnolia, OH March 5, 2015
1228333057 Cleveland, OH March 5, 2015
1229966336 Cleveland, OH March 6, 2015
1237189632 Toledo, OH March 6, 2015
451089408 Saint Mary, OH March 6, 2014
1223239168 Toledo, OH March 6, 2015
431675402 Cleveland, OH March, 30, 2014
§22290433 Sycamore, OH April 4, 2014
1011375617 Avon Lake, OH Between 2014-2015
1197571072 Toledo, OH Between 2014-2015
1197983235 Independence, OH November 20, 2014
1218005504 Akron, OH Between 2014-2015
1223293952 Macedonia, OH Between 2014-2015
1227095552 Cleveland, OH Between 2014-2015
12277706368 Cleveland, OH Between 2014-2015
1228264960 Youngstown, OH Between 2014-2015
1228651008 Geneva, OH Between 2014-2015
1228895744 Youngstown, OH Between 2014-2015
1228931584 Willoughby, OH Between 2014-2015
1228968960 Canfield, OH Between 2014-2015
1229006336 Akron, OH Between 2014-2015
1229018624 Cuyahoga, OH Between 2014-2015

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Location
1229064704 Bloomville, OH
1229130240 Toledo, OH Between 2014-2015
1229373952 Ashtabula, OH Between 2014-2015
1229694464 Cleveland, OH Between 2014-2015
1229770752 Cleveland, OH Between 2014-2015
1229927424 Hubbard, OH Between 2014-2015
1231949312 Canton, OH Between 2014-2015 -
1232317952 Toledo, OH Between 2014-2015
1232367616 Strongsville, OH Between 2014-2015
1232616960 Lima, OH Between 2014-2015
1248447488 Cleveland, OH Between 2014-2015
1248764930 Cleveland, OH Between 2014-2015
1257831937 Toledo, OH Between 2014-2015
1262999040 Cleveland, OH Between 2014-2015
1250711040 North Olmsted, OH - February 28, 2015

All in violation of Title 18, United States Code, Section 371.

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COUNT 15
(Conspiracy to Traffic in Counterfeit Service Marks, 18 U.SC. § 2320(a)(1))
The Grand Jury further charges that:

105. Paragraphs | through 41, of the Indictment are re-alleged and incorporated by
reference as if fully set forth herein.

106. On or about the January 1, 2007, through the date of the Indictment, in the
Northern District of Ohio, Eastern Division, and elsewhere, Defendants BOGDAN
NICOLESCU, TIBERIU DANET, and RADU MICLAUS, and others presently known and
unknown to the Grand Jury, did conspire to intentionally traffic in services, namely internet
commerce services, knowingly using counterfeit marks on and in connection with such services,
in violation of Title 18, United States Code, Section 2320(a)(1).

Objects of the Conspiracy

107. It was an object'of the conspiracy for the BAYROB GROUP to use the
counterfeit trademarks and service marks of Western Union and Novton AntiVirus to provide
seemingly-legitimate communications to deceive victims into clicking on links or attachments
that installed malware on their computers.

108. It was a further object of the conspiracy for the BAYROB GROUP to use
counterfeit trademarks and service marks of eBay, Facebook, PayPal, Gmail, Google, Yahoo!,
and Walmart to deceive online consumers to send credit card account information, personal
identifying information, or wire transfers to members of the BAYROB GROUP posing as
legitimate online companies.

109. It was a further obj ect of the BAYROB GROUP to use counterfeit trademarks and
service marks of Google and Yahoo! to deceive job-seekers into providing bank account
information, personal information, conducting wire transfers, and unwittingly participating in a

criminal conspiracy.

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Manner and Means of the Conspiracy

110. Paragraphs 50 through 65 and 67 of the Indictment are re-alleged and
incorporated by reference as if fully set forth herein.

111. To accomplish these objectives, the BAYROB GROUP used fraudulent webpages
and emails that contained counterfeit trademarks and service marks that were not genuine or
authentic.

112. | The fraudulent trademarks and service marks on the webpages and emails were
designed to be substantially indistinguishable from the legitimate marks, and in fact, the
webpages and emails themselves appeared to contain identical or similar functionalities as the
webpages and emails used by the legitimate mark holders.

113. The BAYROB GROUP further enhanced the seeming legitimacy of the
counterfeit trademarks and service marks by employing them in the same types of services for
which the legitimate mark holders had registered and used such marks.

114. By making the counterfeit marks substantially indistinguishable from the
authentic marks, the BAYROB GROUP deceived victims into either sending personal
information or money to the BAYROB GROUP or installing malware onto their computers that
furthered the BAYROB GROUP’s criminal schemes.

115. Additionally, the BAYROB GROUP used counterfeit marks to further their
money laundering scheme. On or before October 2014, members of the BAYROB GROUP
injected fraudulent Google and Yahoo! pages when users of infected computers attempted to
visit hose websites. ‘The injected pages contained counterfeit Google and Yahoo! marks, and
otherwise appeared to function normally, except the pages contained advertisements in which
Google and Yahoo! purported to be hiring “financial agents” to receive wire transfers and send

them to “European clients” via Western Union. The advertisements suggested that those hired

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could make between $2,000 and $3,500 per month. Individuals responding to the advertisements
provided the BAYROB GROUP with their personal information, bank account information, and
some were unwittingly used to wire transfer the criminal proceeds of the BAYROB GROUP’s
scheme to Romania and elsewhere in Europe.

Acts in Furtherance of the Conspiracy

116. Between on or about September 11, 2014, and on or about September 24, 2014,
from outside the United States members of the BAYROB GROUP, including DANET and
NICOLESCU, logged into a C&C Server located in the United States, and deployed a malicious
file entitled “wu00[x]-htm,” which was an email template used by bots in the Bayrob Botnet to
send malicious email purporting to be from Western Union. The email contained a counterfeit
“Western Union” mark, indicated the recipient had received money, and provided an attachment
with information on how to obtain it, In reality, the attachment installed malware on the
recipient’s computer.

117. Between on or about October 21, 2014, and on or about October 23, 2014, from
outside the United States members of the BAYROB GROUP, including DANET and
NICOLESCU, logged into a C&C server located in the United States, and deployed a malicious
file entitled “walmartO[x].htm,” which was used the BAYROB GROUP to cause bots in the
Bayrob Botnet to inject fictitious webpages advertising electronics for sale at Walmart.com.
Victims were prompted by the injected webpage, which contained a counterfeit “Walmart” mark,
to enter their personal identifying information and credit card information, which information
was then provided to the BAYROB GROUP.

118. Onor about January 13, 2015, from outside the United States, members of the
BAYROB GROUP, including DANET and NICOLESCU, logged into a C&C Server in the

United States and deployed a malicious file entitled “norton01.htm,” which was an email

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template used by the BAYROB GROUP to cause bots in the Bayrob Botnet to send malicious
email purporting to be from Norton AntiVirus. The email contained a counterfeit Norton mark
and indicated the recipient could obtain a year of free computer virus protection by opening the
included attachment. In reality, the attachment installed malware on the recipient’s computer.

119. On or about January 20, 2015, from outside the United States, members of the
BAYROB GROUP, including DANET and NICOLESCU, logged into a C&C server in the
United States, and deployed a malicious file entitled “walmart0[x].htm,” which was used by bots
in the Bayrob Botnet to inject fictitious webpages containing counterfeit Walmart marks, and
advertising electronics for sale at Walmart. Victims were prompted by the injected webpage to
enter their personal identifying information and credit card information, which information was
then provided to the BAYROB GROUP.

120. In total, the BAYROB GROUP sent counterfeit trademarks and service marks
associated with eBay, Facebook, Gmail, and others to at least 40,000 victims, including the
victims listed below, in an effort to deceive these victims into sending them their personal credit

card information, account information, or to install malware on their computers.

De ee "Approsmmate Dae —

“Assigned | lo Cou
736823296 Seville, OH _| Facebook / Yahoo! February 18, 2013
274822 144 Helena, OH Gmail December 2, 2014
274822144 Helena, OH Facebook December 2, 2014
1229064704 Bloomville, OH - eBay January 22, 2015
1229373952 Ashtabula, OH eBay January 27, 2015
1124592640 Cleveland, OH Facebook March 5, 2015
1228371457 Sandusky, OH Facebook March 6, 2015

All in violation of Title 18, United States Code, Section 2320(a)(1).

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COUNTS 16-20
(Aggravated Identity Theft, 18 U.S.C, §§ 1028A(a)(1) and 2)

The Grand Jury further charges that:

121. The factual allegations contained in Paragraphs | through 41 of this Indictment
are re-alleged and hereby incorporated by reference as if fully set forth herein.

122. The term “means of identification,” for purposes of this Indictment, means any
name or number that may be used, alone or in conjunction with any other information, to identify
a specific individual and includes any name, social security number, date of birth, and unique
electronic identification code, address or routing code, including a credit or debit card number.

123. From on or about February 25, 2013, through on or about July 1, 2015, in the
Northern District of Ohio, Eastern Division, and elsewhere, Defendants BOGDAN -
NICOLESCU, TIBERIU DANET, and RADU MICLAUS, and others presently known and
unknown to the Grand Jury, did knowingly use, without lawful auitority, a means of
identification of another person during and in relation to a felony violation enumerated in Title
18, United States Code, Section 1028A(c), to wit, the commission of Computer Fraud, a
violation of Title 18, United States Code, Section 1030, and Wire Fraud, a violation of Title 18,
United States Code, Section 1343, knowing that the means of identification belonged to another
actual person, in violation of Title 18, United States Code, Sections 1028A(a)(1) and 2.

Manner and Means of the Aggravated Identity Theft Scheme

124. Members of the BAYROB GROUP used the C&C servers to send malicious
emails, attachments, and executable files to infect the computers of unsuspecting victims with
the Bayrob Trojan.

125. Once infected, the members of the BAYROB GROUP commanded the infected
computers to inject fraudulent webpages when users attempted to visit legitimate websites such

as eBay, Walmart, Facebook, Yahoo!, Gmail, or PayPal.

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126. The users of the infected computers would see a webpage that appeared to be a
— legitimate webpage, but that prompted them to verify their identity by entering personal
information and credit card account information.

127. Because the personal information was entered by users attempting to gain access
to their own accounts, the BAYROB GROUP could rely on the accuracy of the information
provided by users.

128. The information entered by the victim would be transmitted to the BAYROB
GROUP, where it was stored and catalogued for future use in paying for domain name
registrations, to lease server space, and to cover other costs associated with the maintenance and
growth of the Bayrob Botnet infrastructure and the criminal scheme in general.

129. The BAYROB GROUP stored the credit card information in tables on the C&C
server. Each record in the table would typically include the card holder’s full name, credit card
numbers, expiration dates, and mailing addresses. When individual members of the BAYROB
GROUP used a stolen credit card, that member would “reserve” the card, notate what the card
was used to purchase, and if the card was still active. Members would also circulate credit card
information via email.

130. The BAYROB GROUP collected and used more than 500 stolen credit cards

through their scheme, including credit cards owned by the victims listed below:

proximate D
‘heft and/or Use
2/25/13 — 5/27/13
3/12/13 -6/16/13

ate of -

T.M. Celina, OH

D.W. Seville, OH 5/22/14 — 6/1/15
19 A.MSS. N. Canton, OH 4/6/14 — 11/1/15
20 LK. Wapakoneta, OH 6/4/14 — 7/1/15

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131. Members of the BAYROB GROUP knew, and had reason to know, that the
information collected was from actual individuals because the means by which it was collected
was specifically designed to required response and affirmative action by the victim to provide his
or her own verification information.

132. Moreover, members of the BAYROB GROUP knew, and had reason to know, the
credit card information was from actual individuals because the members successfully used the

cards to make purchases, and often repeated purchases over an extended period of time.

All in violation of Title 18, United States Code, Section 1028A.

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COUNT 21
(Conspiracy to Commit Money Laundering, 18 U.SC. § 1956(h))
The Grand Jury further charges that:
133. Paragraphs | through 41 of the Indictment are re-alleged and incorporated by
reference as 1f fully set forth herein.

The Conspiracy

134, From on or about January 1, 2007, through the date of the Indictment, in the
Northern District of Ohio, Eastern Division, and elsewhere, Defendants BOGDAN
NICOLESCU, TIBERIU DANET, and RADU MICLAUS, and others presently known and
unknown to the Grand Jury, did knowingly and intentionally combine, conspire, and agree with
each other and with other persons known and unknown to the Grand Jury to commit offenses
against the United States in violation of Title 18, United States Code, Section 1956, to wit:

_i. to knowingly conduct and attempt to conduct financial transactions affecting interstate
and foreign commerce, which transactions involved the proceeds of specified unlawful activity,
that is, Wire Fraud in violation of Title 18, United States Code, Section 1343, Fraudulent Access
to Computers, in violation of Title 18, United States Code, Section 103 0, and Trafficking in
Counterfeit Goods, in violation of Title 18, United States Code, Section 2320(a), knowing that
the transactions were designed in whole or in part fo conceal and disguise the nature, location,
source, ownership, and control of the proceeds of specified unlawful activity, and that while
conducting and attempting to conduct such financial transactions, knew that the property
involved in the financial transactions represented the proceeds of some form of unlawful activity,
in violation of Title 18, United States Code, Section 1956(a)(1}(B)G@)}; and

ii. to transport, transmit, and transfer, and attempt to transport, transmit, and transfer a
monetary instrument or funds involving the proceeds of specified unlawful activity, that is, Wire

Fraud in violation of Title 18, United States Code, Section 1343, Fraudulent Access to

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Computers, in violation of Title 18, United States Code, Section 1030, and Trafficking in
Counterfeit Goods, in violation of Title 18, United States Code, Section 2320(a), from a place in
the United States to or through a place outside the United States, knowing that the funds
involved in the transportation, transmission, and transfer represented the proceeds of some form
of unlawful activity and knowing that such transportation, transmission, and transfer was
designed in whole or in part to conceal and disguise the nature, location, source, ownership, and
control of the proceeds of specified unlawful activity, in violation of Title 18, United States
Code, Section 1956(a)(2)(B){i).

Objects of the Conspiracy

135. It was an object of the conspiracy that the Defendants used a network of money
mules and wire transfers conducted under the guise of legitimate businesses in order to obscure
and disguise the ultimate recipients of the criminal proceeds of their Wire Fraud, Fraudulent
Access to Computers, and Trafficking in Counterfeit Goods and Services schemes.

136. Jt was a further object that the Defendants transferred money obtained from the
Wire Fraud, Fraudulent Access to Computers, and Trafficking in Counterfeit Goods and Services
schemes overseas for personal financial gain.

Manner and Means of the Conspiracy

137. ‘The manner and means used to accomplish the objectives of the conspiracy
included, among others, the following:

138. Using stolen credit card information and identification features obtained through
the Wire Fraud, Fraudulent Access to Computers, and Trafficking in Counterfeit Goods and
Services schemes, the BAYROB GROUP placed listings for “money transfer agents” on job
posting websites including Monster.com, Indeed.com, Craigslist.com, and Beyond.com, among

others.

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139. The BAYROB GROUP created fictitious companies, such as US Wires Services,
ITP Solution, ITP, MTS Solution, ITP Services, KPS, KFP Partners, KGT, KPL Partners, RBS
Wire, MTPL, KPL, GlassTrust, Global Partners Hungaria KFT, and KST, and created fraudulent
websites for each business to give the impression that they were actual businesses which engaged
in legitimate international transactions.

140. The BAYROB GROUP also claimed to be hiring agents for legitimate companies
such as Yahoo! and Google to entice individuals interested in working from home. The
BAYROB GROUP injected fraudulent Google and Yahoo! pages when users of infected
computers attempted to visit those websites. The injected pages contained counterfeit Google
and Yahoo! logos, and otherwise appeared and functioned normally, except the pages contained
advertisements in which Google and Yahoo! purported to be hiring “financial agents” to receive
wire transfers and send them to “European clients” via Westein Union.

141. The BAYROB'GROUP, posing as these legitimate businesses, typically
explained that the hiring company regularly received payments from compantes in the United
States, and the company could legally avoid paying 4 19% Value Added Tax (VAT) if the
payments were wired directly from American citizens. The BAYROB GROUP typically
explained that the agents could keep six percent of any funds wited, or the agents could send the
entire amount and later receive a check for ten percent of the funds. However, the “wire transfer
agents” who elected to receive the ten percent option were not actually paid.

142. Individuals responding to the listings provided the BAYROB GROUP with their
personal information and bank account information, and then received instructions from the
BAYROB GROUP via email and text message: The BAYROB GROUP provided the “transfer
agents” with information about incoming wire transfers, as well as information about where to

wire those funds.

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143. The BAYROB GROUP provided the name and bank account information for the
“transfer agent” to victims of online auction fraud, who were led to believe that this information
was for an “eBay Escrow Agent.” Beyond their name and bank account information, the victims
of online auction fraud were not provided with any contact information for the transfer agent.
Any question a victim might raise about the transaction was redirected by the Bayrob Trojan to
members of the BAYROB GROUP posing as eBay Customer Support.

144, Once victims wired the funds to the “transfer agent,” the “transfer agent”
withdrew the funds from his or her bank account, and wired the funds; less any commission, via i
Western Union or MoneyGram, to individuals in Romania or surrounding countries.

145, European “money mules,” paid by the BAYROB GROUP, avoided detection by
using fake identity documents, and by collecting the wired funds at random Western Union or
MoneyGram offices in Romania or surrounding countries. Eventually, these funds were
transferred to members of the BAYROB GROUP.

Acts in Furtherance of the Conspiracy

146. The following acts were committed in furtherance of the conspiracy in the
Northern District of Ohio and elsewhere.

The Creation of Fictitious Online Companies Offering Transfer Agent Jobs

147. From approximately October 2007, to the date of this Indictment, members of the
BAYROB GROUP recruited potential money mules by posing as legitimate online companies
seeking “transfer agents.” The BAYROB GROUP, collectively, used three types of false
company profiles. The BAYROB GROUP either created fictitious companies and recruited
“transfer agents” via the company’s website; assumed the profile of a job recruiter for Yahoo! or
Google; or, posted recruitment ads on legitimate employment websites. These false and

fictitious profiles and websites allowed the BAYROB GROUP to obscure and disguise the

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ultimate recipients of the criminal proceeds of Wire Fraud, Fraudulent Access to Computers, and
Trafficking in Counterfeit Goods and Services schemes.

Concealment of the BAYROB GROUP ’s Identity Through the Use of Stolen Credit Cards
To Pay For the Webhosting and ISP Services to Recruit Monev Mules

148. Moreover, the BAYROB GROUP further obscured and disguised their actual
identities, locations, and criminal intentions by using stolen credit cards and identities to pay for
the domain names, websites, and ISPs hosting the fictitious entities.

149. Onor about March 31, 2013, NICOLESCU sent an encrypted email with the
subject “ce2013031” to DANET, MICLAUS, and two members of the BAYROB GROUP
unknown to the Grand Jury. The email contained a password protected file attachment named
2013033 1lec.txt.asc.” The C&C server contained a database table named “cc” that maintained a
list of stolen credit cards available and used by the members of the BAYROB GROUP to pay for
infrastructure.

150. On or about November 20, 2013, NICOLESCU sent an encrypted email with the
subject “20131119cc” to DANET, MICLAUS, and three members of the BAYROB GROUP
unknown to the Grand Jury. Attached to this email were encrypted files “20131119cc.txt.pgp”
and “20131119cc.xls.pgp.” The C&C server contained a database table named “co” that
maintained a list of stolen credit cards available and used by the members of the BAYROB
GROUP to pay for infrastructure.

151. Onor about December 10, 2013, NICOLESCU sent an encrypted email with the
subject “more ccs” to DANET, MICLAUS, and two members of the BAYROB GROUP
unknown to the Grand Jury. Attached to this email was an encrypted file “20131210cc.txt.pgp.”
The C&C server contained a database table named “cc” that maintained a list of stolen credit

cards available and used by the members of the BAYROB GROUP to pay for infrastructure.

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152. On or about July 23, 2014, DANET sent an encrypted email with the subject -
“Ces” to NICOLESCU. This email atiached a password protected file “cces.rar.pgp.” The C&C
server contained a database table named “cc” that maintained a list of stolen credit cards
available and used by the members of the BAYROB GROUP to pay for infrastructure.

153. On or about December 5, 2014, DANET sent an encrypted email with the subject
“Cc” to MICLAUS. The C&C server contained a database table named “cc” that maintained a
list of stolen credit cards available and used by the members of the BAYROB GROUP to pay for
infrastructure.

154. On or about December 5, 2014, NICOLESCU sent an encrypted email with the
subject “cc” to DANET and MICLAUS. The email contained a password protected file
attachment named “2014120Scc.txt.asc.” The C&C server contained a database table named
“ec” that maintained a list of stolen credit cards available and used by the members of the
BAYROB GROUP to pay for infrastructure.

Using the Money Mules to Send Money Overseas to Evade Detection and Identification

155. On or about July 1, 2013, an individual, “RM.,” whose identity is known to the
Grand Jury, corresponded with an email address at America Online to negotiate the purchase of a
1965 Ford Mustang listed on eBay. As a result, R.M. sent $9,200 to D.W. via bank wire transfer
to Charter One Bank, 7700 Brookpark Rd, Brooklyn, Ohio 44129.

156. Onor about August 1, 2013, an individual, “M.B.,” whose identity is known to
the Grand Jury, communicated with an email address at America Online regarding the purchase
of a car listed on eBay. As aresult, M.B. sent a bank wire transfer of $10,700 to D.W. at PNC
Bank in Cleveland, Ohio.

157. On or about July 9, 2013, an individual, “A.K.,” whose identity is known to the

Grand Jury, communicated with an email address at America Online regarding the purchase of a

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car listed on eBay. As a result, A.K. sent a bank wire transfer of $8,918.62 to D.W. at US Bank
in Cleveland, Ohio.

158. Onor about July 25, 2013, an individual, “D.P.,” whose identity is known to the
Grand Jury, communicated with an email address at America Online regarding the purchase of a
car listed on eBay. As a result, D.P. sent a bank wire transfer of $7,858.50 to D.W. at Charter
One Bank in Cleveland, Ohio.

159. Onor about August 6, 2013, an individual, “J.G.,” whose identity is known to the
Grand Jury, communicated with an email address at America Online regarding the purchase of a
car listed on eBay. As a result, J.G. sent a bank wire transfer of $7,254.00 to D.W. at Charter
One Bank in Cleveland, Ohio.

160. On or about August 1, 2013, an individual, “T.V.,” whose identity is known to the
Grand Jury, corresponded with an email address at America Online about a 1971 Dodge Charger
offered for sale on eBay. As a result, T.V. sent a bank wire transfer of $7,000 to HP. at US
Bank, 15215 Manchester Rd, Ballwin, Missouri 6301 1.

161. From in or around October 2007 to the date of this Indictment, in the Northern
District of Ohio, Eastern Division, and elsewhere, the BAYROB GROUP directed United States-
based money mules, including D.W. and H.P. to transmit and transfer, and attempt to do so,
monetary instruments and funds, including, wire transfers of funds obtained by money mules in
the United States, from a place in the United States to members of the BAYROB GROUP and to
European-based money mules located at a place outside of the United States, including Romania
and elsewhere in Basten Europe.

162. In order to track the payments sent from victims to mules, the members of the
BAYROB GROUP created files, including but not limited to, a spreadsheet called “amounts

final” that tracked the progress of wire transfers and amounts received, as well as a table titled

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“my4 mules,” which contained a list of mules recruited in the United States. These tables were
stored and maintained on the C&C server. The members of the BAYROB GROUP could review
and update the information in the tables.

163. On or about August 23, 2013, using the C&C server, a member of the BAYROB

GROUP whose identity is unknown to the grand jury sent an encrypted email to DANET, with
the subject line of “amounts final.” This email contained a table of active money mules in the
United States and Europe on which they tracked the progress of wire transfers and amounts
received.

164. The BAYROB GROUP was able to transfer over $1,100,000 overseas via
Western Union.

165. The proceeds of the wires received by the BAYROB GROUP were intended to be |
divided in the following manner: NICOLESCU receiving 25%, DANET receiving 25%, and
MICLAUS receiving 10%, the remaining funds were to be divided amongst individuals
unknown to the Grand Jury.

. Allin violation of Title 18, United States Code, Section 1956(h).

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ENHANCEMENT PURSUANT TO TITLE 18,
UNITED STATES CODE, SECTION 3559(g)(1)
(False Registration of a Domain Name)

The Grand Jury further charges that:

166. Paragraphs | through 41 of the Indictment are re-alleged and incorporated by
reference as if fully set forth herein.

167. Between on or about April 14, 2014 and on or about July 25, 2014, in the
Northern District of Ohio and elsewhere, Defendants BOGDAN NICOLESCU, TIBERIU
DANET, and RADU MICLAUS, and others presently known and unknown to the Grand Jury,
did knowingly and intentionally falsely register the below-listed domain names, in that the
Defendants did register and cause to be registered the below-listed domain names with hosting
services using a false contact, and further that the Defendants did knowingly and intentionally
use at least one of the below-listed domain names in the course of the commission of the felony
offenses alleged in this Indictment.

168. Knowing that the domain names were registered using false names, stolen credit
cards, and fictitious identifying information, NICOLESCU, DANET, and MICLAUS registered

the following domain names on or about the below-listed dates:

"Date | Doma | Adentily Used |
04/17/14 recordcontinue.net F.G,
04/20/14 spendmarry.net F.G.
04/20/14 frontride.net DS.
04/26/14 wrongthrew.net DS.
04/27/14 chieftraining.net F.G,
04/28/14 hangcold.net F.G,
04/28/14 middleevery.net - D.S.
04/29/14 sulfermeeting net JS.
05/01/14 husbandbeauty net JS.
05/12/14 electricelectricity net R.M.
05/12/14 againstspread.net R.M.
05/13/14 captaingarden.net R.M.
05/14/14 gathermayor.net RM.
05/14/14 presentchance.net R.M.
05/15/14 morningelectricity.net RM.

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- Date Domain... Identity Used:
05/16/14 weathersquare.net K.-C.
05/17/14 historyperfect.net K.C.
05/19/14 seasonproduce.net JR.
05/19/14 decidebrought.net J.R.
05/20/14 chiefbroad.net JR.
05/21/14 rockknew.net TS,
05/21/14 rathernearly net TJ.
05/21/14 collegesuppose.net JR.
05/21/14 hangclock.net O.K.
05/22/14 calloctover.net R.G.
05/22/14 spendstudy.net R.G.
05/22/14 westweight.net R.B.
05/22/14 likrlend.net S.H.
05/22/14 septemberwall net A.Q.
05/22/14 favoroctober.net DL.
03/22/14 classwrite.net TJ.
05/22/14 pointdeal net J.D.
05/22/14 historymethod net R.G.
05/22/14 ringfirst.net C.M.
05/23/14 torebuild.net C.M.
05/23/14 viewcome.net A.Q.
05/23/14 takestood net S.H.
05/23/14 Irstnfeed.net R.B.
05/23/14 strengthkitchen.net D.L.
05/23/14 ringoctober.net J.D.
05/23/14 muchouter.net D.L.
05/23/14 fallworld.net TU.
05/23/14 doublewhose.net J.D.
05/25/14 pointfine.net R.B.
05/25/14 strengthfinger.net AQ.
05/25/14 foreignladder.net R.B.
05/25/14 wellshirt.net C.M.
05/25/14 storeenough.net S.H.
05/25/14 resultfurther.net TS.
05/25/14 likrhers.net J.D.
05/25/14 noseheld.net AQ.
05/27/14 machineproud.net S.H.
05/27/14 familybecome.net R.B.
05/27/14 thoughnature.net C.M.
05/27/14 fiftyserve.net AQ.
05/27/14 soilserve.net CLM.
05/27/14 childrenwhose.net J.D,
03/27/14 soilonly.net R.S.
05/27/14 fiftyopen.net R.B,
05/27/14 soilopen.net DS.
05/27/14 soilhear.net S.H.

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Date |e Domain. |. Identity Used.
05/27/14 - fiftyonly.net J.D.
05/28/14 southsing net C.M.
05/28/14 fittysing.net D.S.
05/28/14 triedpage.net S.H.
05/28/14 triedserve.net R.S.
05/29/14 fellowmodern.net C.M.
05/29/14 mightadvance.net S.H.
05/29/14 thoughfinger.net AQ.
05/29/14 strengthforever.net J.D.
05/30/14 stillsister.net S.H.
05/30/14 storestation.net C.M.
07/24/14 watercaught.net JM.
07/25/14 knownguard.net J.M.
07/25/14 experiencedevice.net JM.
07/25/14 enemydont.net J.M.

169. Once registered, members of the BAYROB GROUP used the above-listed
domain names to carry out fraud schemes in violation of the law as described in Counts 1 .
throuch 20.

170. Additionally, members of the BAYROB GROUP registered the below-listed

domain names using false names, stolen credit cards, and fictitious identifying information in

order to further the criminal money laundering scheme charged in Count 21 of this Indictment.

171. Onor about April 5, 2011, the BAYROB GROUP purchased the domain name
KPL-business.com, and used it to publish a website for the fictitious company, KPL. The KPL
website was registered in the name of R.L., of Norwood, Ohio, whose identity is known to the
Grand Jury.

172. Onor about May 23, 2008, the BAYROB GROUP purchased a domain name for
the website, [TPSolution.net, and used it to publish a website for the fictitious company, ITP
Solution. The ITP Solution website was registered in the name of JLN., of Bellingham, WA.
Money mules working for the BAYROB GROUP communicated with an email account known
to the grand jury ending in @itpsolution.co.uk from on or about May 26, 2008 through on or

about June 15, 2008.

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173. On or about July 22, 2008, the BAYROB GROUP purchased a domain name for
the website ITPServices.us and used it to publish a website for the fictitious company ITP
Services. The ITP Services website was registered in the name of G.G., of Savannah, GA.

174. On or about March 10, 2009, the BAYROB GROUP purchased a domain name
for the website KPS-online.com, and used it to publish a website for the fictitious company KPS.
The KPS website was registered in the name of 8. W., of Compton, CA.

175. On or about February 25, 2010, the BAYROB GROUP purchased a domain name
for the website KFP-partners.com and used it to publish a website for the fictitious company
KFP Partners. The KFP Partners website was registered in the name of R.P., of Sunnyvale, CA.

176. On or about February 26, 2010, the BAYROB GROUP purchased a domain name
for the website KGT-online.com and used it to publish a website for the fictitious company
KGT. The KGT website was registered in the name of T.S., of Post Falls, ID.

177. Onor about February 26,.2010, the BAYROB GROUP purchased a domain name
for the website KPL-Partners.com and used it to publish a website for the fictitious company
KPL Partners. The KPL Partners website was registered in the name of C.K., of Sunnyvale, CA.

178. On or about February 26, 2010, the BAYROB GROUP purchased a domain name
for the website KPL-online.com and used it to publish a website for the fictitious company KPL.
The KPL website was registered in the name of E.P., of Sunnyvale, CA.

179. On or about October 7, 2010, the BAYROB GROUP purchased a domain name
for the website KPL-Solutions.com and used it to publish a website for the fictitious company
KPL Solutions. The KPL Solutions website was registered in the name of G.W., of Bryan, TX.

180. On or about March 31, 2011, the BAYROB GROUP purchased a domain name
for the website MTPL-program.com and used it to publish a website for the fictitious company

MTPL. The MTPL website was registered in the name of K.M., of East Grand Rapids, MI.

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181. Onor about January 11, 2012, the BAYROB GROUP purchased a domain name
for the website MTPL-expert.com and used it to publish a website for the fictitious company
MTPL. The MTPL website was registered in the name of G.D., of New Port Richey, FL.

182. On or about February 21, 2013, the BAYROB GROUP purchased a domain name
for the website GlassTrust.net and used it to publish a website for the fictitious company
Glass Trust. The GlassTrust website was registered in the name of G.L., of Brooklyn, NY.

183. Onor about February 27, 2013, the BAYROB GROUP purchased a domain name
for the website TradeLength.net and used it to publish a website for the fictitious company
Global Partners Hungaria KFT. The Global Partners Hungaria KFT website was registered in
the name of R.G., of Henry, VA.

184. On or about April 24, 2012, the BAYROB GROUP purchased a domain name for
the website KST-online.com and used it to publish a website for the fictitious company KST.
The KST website was registered in the name of R.K., of Hollywood, FL.

185. On or about February 28, 2013, the BAYROB GROUP purchased a domain name
for the website, streetlaughter.net, and used it to publish a website for the fictitious company
Global Partners Hungaria KFT. The Global Partners Hungaria KFT website was registered in
the name of M.S., of Des Plaines, IL.

186. Onor about March 15, 2013, the BAYROB GROUP purchased a domain name
for the website forwarding-service-group.com and used it to publish a website for the fictitious
company Global Partners Hungaria KFT. The Global Partners Hungaria KFT website was
registered in the name of J.U., of Costa Mesa, CA.

In violation of Title 18, United States Code, Section 3559(g)(1).

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FORFEITURE: COUNTS 1-13

The Grand Jury further charges:

187. The allegations of Counts 1 through 13, inclusive, are hereby re-alleged and
incorporated herein by reference for the purpose of alleging forfeiture pursuant to Title 18,
United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c). As
a result of the foregoing offenses, defendants BOGDAN NICOLESCU, TIBERIU DANET, and
RADU MICLAUS shall forfeit to the United States all property, real and personal, which
constitutes, or is derived from, proceeds traceable to the commission of such offenses; including,

but not limited to, the following:

a.) MONEY JUDGMENT: defendants BOGDAN NICOLESCU, TIBERIU DANET,
and RADU MICLAUS shall forfeit property, including, but not limited to, a sum of money equal
to the proceeds of Counts | through 13.

FORFEITURE: COUNT 14

The Grand Jury further charges:

188. The allegations of Count 14 are hereby re-alleged and incorporated herein by
reference for the purpose of alleging forfeiture pursuant to Title 18, United States Code, Section
982(a)(2)(B) and Title 18, United States Code, Section 1030(i). As a result of the foregoing
offense, defendants BOGDAN NICOLESCU, TIBERIU DANET, and RADU MICLAUS shall
forfeit to the United States all property, real and personal, constituting or derived from proceeds

- that the defendants obtained, directly or indirectly, as the result of such offense; and, all personal
property that was used, or was intended to be used, to commit or to facilitate the commission of

such offense; including, but not limited to, the following:

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a.) MONEY JUDGMENT: defendants BOGDAN NICOLESCU, TIBERIU DANET,
and RADU MICLAUS shall forfeit property, including, but not limited to, a sum of money equal
to the proceeds of Count 14.

FORFEITURE: COUNT 15

The Grand Jury further charges:

189. The allegations of Count 15 are hereby re-alleged and incorporated herein by
reference for the purpose of alleging forfeiture pursuant to Title 18, United States Code, Section
2323(b).. As a result of the foregoing offense, defendants BOGDAN NICOLESCU, TIBERIU
DANET, and RADU MICLAUS shall forfeit to the United States all property constituting or
derived from any proceeds obtained directly or indirectly as the result of the commission of such
offense; and, all property used, or intended to be used, in any manner or part to commit or
facilitate the commission of such offense; including, but not limited to, the following:

a.) MONEY JUDGMENT: defendants BOGDAN NICOLESCU, TIBERIU DANET,
and RADU MICLAUS shall forfeit property, including, but not limited to, a sum of money equal
to the proceeds of Count 15.

FORFEITURE: COUNT 21

The Grand J ury further charges:

190. The allegations of Count 21 are hereby re-alleged and incorporated herein by
reference for the purpose of alleging forfeiture pursuant to Title 18, United States Code, Section
982(a)(1}. As a result of the foregoing offense, defendants BOGDAN NICOLESCU, TIBERIU:
DANET, and RADU MICLAUS shall forfeit to the United States all property, real and personal,
involved in Count 21, and all property traceable to such property; including, but not limited to,

the following:

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a.) MONEY JUDGMENT: defendants BOGDAN NICOLESCU, TIBERIU DANET,
and RADU MICLAUS shall forfeit property, including, but not limited to, a sum of money equal

to the value of all property involved in Count 21.

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191.

SUBSTITUTE PROPERTY |

In the event that any property subject to forfeiture under Title 18, United States

Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c), Title 18, United

States Code, Section 982(a)(2\(B), Title 18, United States Code, Section 1030(), Title 18,

United States Code, Section 2323(b), and/or Title 18, United States Code, Section 982(a)(1), as a

result of any act or omission of the defendant(s):

a.)

cannot be located upon exercise of due diligence;

has been transferred or sold to, or deposited with a third party;
has been placed beyond the jurisdiction of this Court;

has been substantially diminished in value; or,

has been commingled with other property which cannot be divided without
difficulty,

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of the defendant(s), up to the value of the forfeitable

property described above.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.

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